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                                                              March 5, 2021
                                                                  VPC
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3                              UNITED STATES DISTRICT COURT
4
                          CENTRAL DISTRICT OF CALIFORNIA
5

6    MELISSA MEYER, individually and on Case No.: 2:20-cv-02140-SB-JPR
     behalf of all others similarly situated,
7

8
                  Plaintiff,                     ORDER TO SHOW CAUSE RE:
                                                 DISMISSAL
9    vs.
10
     DIRECT RECOVERY SERVICES LLC,
11   a Corporation; DOES 1-10 Inclusive,
12
                  Defendants.
13

14         Defendant filed a notice of settlement on March 4, 2021.
15
           IT IS HEREBY ORDERED that the parties are to show cause why the
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     action should not be dismissed with prejudice on April 30, 2021 at 8:30 a.m. If the

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     parties file a proposed order to dismiss the entire action with prejudice by April 23,

19   2021, the OSC shall be taken off calendar without further notice. Otherwise, the
20   parties shall appear at the OSC hearing.
21         IT IS FURTHER ORDERED that all other hearings and deadlines are
22   vacated.
23
           NOTICE: The parties are advised that the Court will not continue the
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     OSC hearing, absent a detailed, compelling showing why the settlement has not
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     been completed, and the parties should be prepared for the Court to set a trial date.
26

27   Dated: March 5, 2021
28


                                                     Stanley Blumenfeld, Jr.
                                                    United States District Judge
